838 F.2d 471
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Irena KALVANS, Plaintiff-Appellant,v.UNITED STATES ATTORNEY FOR the EASTERN DISTRICT OF MICHIGAN,Defendant-Appellee.
    No. 87-1826.
    United States Court of Appeals, Sixth Circuit.
    Feb. 4, 1988.
    
      Before LIVELY, Chief Judge, NATHANIEL R. JONES and MILBURN, Circuit Judges.
    
    ORDER
    
      1
      This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and the briefs, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).
    
    
      2
      Upon consideration, we affirm the judgment of the district court for the reasons stated in its memorandum opinion and order filed August 19, 1987.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    